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IN THE UNITED STATE DISTRICT COURT
FOR THE SOUTHERN DISTR_ICT OF TEXAS

HOUSTON DIVISION
KIZZY l.ANDRY, Individually, and INDIA §
LANDRY_. ]ndividually, §
§
P!a[ntijj‘:s, §
§
v. § Civil Acti_on No. 4:17-cv-3004
§
CYPRESS FAIRBANKS ISD, et al., §
§
Defendams. §
§
§
STATE OF TEXAS._ §
§
Dej%r?dar?{~[nter"venor. §

STIPULATION AND JOINT MOTION FOR ORDER
FOR DISMISSAL WITH PRE-JUDICE

Plaintiffs Kizzy and lndia Landry (collectively Plaintift`s)_, through their attorney_
and Cypress Fairhanks Independent School District (CFISD)_ Dr. l\/larl~; Ilenry. l\/lartha
Strother. Jamie .lohnson_, l\/Iary James, Penny lrwin-Fitt. and Karen Walters (collectively
Det`endants)._ through their attorneys, agree to and jointly move t`or entry ol" an order
dismissing this case With prejudice

Plaintit`fs and Det`endants agree that Plaintit`t`s" challenge to the constitutionality of
Section 25.082 of the Texas Education Code remains. but all other claims against all other

defendants Will be dismissed

 

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Respectfully submitted,

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Attoi ney foi Defendant
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l\/lartha Strother

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